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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION
 In re:

 MARLON SPANN                                        Case No. 16-16497-RBR

                 Debtor.                             Chapter 7
                          /
 LESLIE S. OSBORNE, as
 Chapter 7 Trustee of the
 estate of MARLON SPANN,

          Plaintiff,
                                                    ADVERSARY
 v.                                                 PROCEEDING NO.: 18-01210-RBR

 BIG PICTURE LOANS, LLC

           Defendant.
                                             /


                                  CERTIFICATE OF SERVICE

       I certify that a true copy of the Complaint (ECF No. 1), the Summons (ECF No. 3), and
the Order Setting Filing and Disclosure Requirements for Pretrial and Trial (ECF No. 4) were
served on 5/4/2018 via First Class U.S. Mail, on the following:
Michelle Hazen, Co-Manager & Agent, Big Picture Loans, LLC
E23970 Pow Wow Trail, Watersmeet, MI 49969

                                    KIEM LAW, PLLC
                                    Attorney for Plaintiff
                                    8461 Lake Worth Road, Suite 114
                                    Lake Worth, Florida 33467
                                    Telephone: 561-600-0406
                                    Facsimile: 561-763-7355
                                    Email: tarek@kiemlaw.com

                                     By:     /s/ Tarek K. Kiem
                                              Tarek K. Kiem
                                              Florida Bar No 0637041
Dated: 5/4/2018
